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 7                                               UNITED STATES DISTRICT COURT
 8                                            CENTRAL DISTRICT OF CALIFORNIA
 9
     JOHN MALKIN, an individual,
10                                                            Case No. 2:20-cv-03377
                          Plaintiff,
11
               v.                                             STIPULATED PROTECTIVE
12                                                            ORDER
     NBCUNIVERSAL MEDIA, LLC;
13   UNIVERSAL PICTURES, INC.;
     WORKING TITLE FILMS; and DOES 1
14   through 10, inclusive,
15                       Defendants.
16

17

18   1.        A. PURPOSES AND LIMITATIONS
19

20             Discovery in this action is likely to involve production of confidential,
21   proprietary, or private information for which special protection from public disclosure
22   and from use for any purpose other than prosecuting this litigation may be warranted.
23   Accordingly, the parties hereby stipulate to and petition the Court to enter the
24   following Stipulated Protective Order. The parties acknowledge that this Order does
25   not confer blanket protections on all disclosures or responses to discovery and that the
26   protection it affords from public disclosure and use extends only to the limited
27   information or items that are entitled to confidential treatment under the applicable
28   legal principles. The parties further acknowledge, as set forth in Section 12.3, below,


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 1   that this Stipulated Protective Order does not entitle them to file confidential
 2   information under seal; Civil Local Rule 79-5 sets forth the procedures that must be
 3   followed and the standards that will be applied when a party seeks permission from
 4   the court to file material under seal.
 5

 6             B. GOOD CAUSE STATEMENT
 7

 8             This action is likely to involve what the producing party contends is
 9   commercially sensitive information, confidential creative materials such as draft
10   scripts and internal notes, trade secrets, customer and pricing lists and other valuable
11   research,          development,                 commercial,   financial,   technical   and/or   proprietary
12   information for which special protection from public disclosure and from use for any
13   purpose other than prosecution of this action is warranted. Such confidential and
14   proprietary materials and information consist of, among other things, confidential
15   business or financial information, information regarding confidential business
16   practices, or other confidential research, development, or commercial information
17   (including information implicating privacy rights of third parties), information
18   otherwise generally unavailable to the public, or which may be privileged or otherwise
19   protected from disclosure under state or federal statutes, court rules, case decisions, or
20   common law. Accordingly, to expedite the flow of information, to facilitate the
21   prompt resolution of disputes over confidentiality of discovery materials, to
22   adequately protect information the parties are entitled to keep confidential, to ensure
23   that the parties are permitted reasonable necessary uses of such material in preparation
24   for and in the conduct of trial, to address their handling at the end of the litigation, and
25   serve the ends of justice, a protective order for such information is justified in this
26   matter. It is the intent of the parties that information will not be designated as
27   confidential for tactical reasons and that nothing be so designated without a good faith
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 1   belief that it has been maintained in a confidential, non-public manner, and there is
 2   good cause why it should not be part of the public record of this case.
 3

 4   2.        DEFINITIONS
 5             2.1        Action: this pending federal lawsuit.
 6             2.2        Challenging Party: a Party or Non-Party that challenges the designation
 7   of information or items under this Order.
 8             2.3        “CONFIDENTIAL” Information or Items: information (regardless of
 9   how it is generated, stored or maintained) or tangible things that qualify for protection
10   under Federal Rule of Civil Procedure 26(c), and as specified above in the Good
11   Cause Statement.
12             2.4        “HIGHLY               CONFIDENTIAL   --   ATTORNEYS’    EYES     ONLY”
13   Information or Items: information that a Producing Party contends is extremely
14   sensitive “CONFIDENTIAL” Information or Items, and the disclosure of which to
15   another Party or Non-Party would create a substantial risk of serious harm that could
16   not be avoided by less restrictive means. Such Information or Items shall include only,
17   and be limited exclusively to, trade secrets, sensitive financial information,
18   confidential creative materials, and customer information.
19             2.5        Counsel: Outside Counsel of Record and House Counsel (as well as their
20   support staff).
21             2.6        Designating Party: a Party or Non-Party that designates information or
22   items that it produces in disclosures or in responses to discovery as
23   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
24   ONLY.”
25             2.7        Disclosure or Discovery Material: all items or information, regardless of
26   the medium or manner in which it is generated, stored, or maintained (including,
27   among other things, testimony, transcripts, and tangible things), that are produced or
28   generated in disclosures or responses to discovery in this matter.

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 1             2.8        Expert: a person with specialized knowledge or experience in a matter
 2   pertinent to the litigation who has been retained by a Party or its counsel to serve as an
 3   expert witness or as a consultant in this Action.
 4             2.9        House Counsel: attorneys who are employees of a party to this Action.
 5   House Counsel does not include Outside Counsel of Record or any other outside
 6   counsel.
 7             2.10 Non-Party: any natural person, partnership, corporation, association, or
 8   other legal entity not named as a Party to this action.
 9             2.11 Outside Counsel of Record: attorneys who are not employees of a party
10   to this Action but are retained to represent or advise a party to this Action and have
11   appeared in this Action on behalf of that party or are affiliated with a law firm which
12   has appeared on behalf of that party, and includes support staff.
13             2.12 Party: any party to this Action, including all of its officers, directors,
14   employees, consultants, retained experts, and Outside Counsel of Record (and their
15   support staffs).
16             2.13 Producing Party:                 a Party or Non-Party that produces Disclosure or
17   Discovery Material in this Action.
18             2.14 Professional Vendors: persons or entities that provide litigation support
19   services (e.g., photocopying, videotaping, translating, preparing exhibits or
20   demonstrations, and organizing, storing, or retrieving data in any form or medium)
21   and their employees and subcontractors.
22             2.15 Protected Material:                any Disclosure or Discovery Material that is
23   designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’
24   EYES ONLY.”
25             2.16 Receiving Party: a Party that receives Disclosure or Discovery Material
26   from a Producing Party.
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 1   3.        SCOPE
 2             The protections conferred by this Stipulation and Order cover not only
 3   Protected Material (as defined above), but also (1) any information copied or extracted
 4   from Protected Material; (2) all copies, excerpts, summaries, or compilations of
 5   Protected Material; and (3) any testimony, conversations, or presentations by Parties
 6   or their Counsel that might reveal Protected Material.
 7             Any use of Protected Material at trial shall be governed by the orders of the trial
 8   judge. This Order does not govern the use of Protected Material at trial.
 9   4.        DURATION
10             Even after final disposition of this litigation, the confidentiality obligations
11   imposed by this Order shall remain in effect until a Designating Party agrees
12   otherwise in writing or a court order otherwise directs. Final disposition shall be
13   deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
14   or without prejudice; and (2) final judgment herein after the completion and
15   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
16   including the time limits for filing any motions or applications for extension of time
17   pursuant to applicable law.
18

19   5.        DESIGNATING PROTECTED MATERIAL
20             5.1        Exercise of Restraint and Care in Designating Material for Protection.
21   Each Party or Non-Party that designates information or items for protection under this
22   Order must take care to limit any such designation to specific material that qualifies
23   under the appropriate standards. The Designating Party must designate for protection
24   only those parts of material, documents, items, or oral or written communications that
25   qualify so that other portions of the material, documents, items, or communications
26   for which protection is not warranted are not swept unjustifiably within the ambit of
27   this Order.
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 1             Mass, indiscriminate, or routinized designations are prohibited. Designations
 2   that are shown to be clearly unjustified or that have been made for an improper
 3   purpose (e.g., to unnecessarily encumber the case development process or to impose
 4   unnecessary expenses and burdens on other parties) may expose the Designating Party
 5   to sanctions.
 6             If it comes to a Designating Party’s attention that information or items that it
 7   designated for protection do not qualify for protection, that Designating Party must
 8   promptly notify all other Parties that it is withdrawing the inapplicable designation.
 9             5.2        Manner and Timing of Designations. Except as otherwise provided in
10   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
11   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
12   under this Order must be clearly so designated before the material is disclosed or
13   produced.
14             Designation in conformity with this Order requires:
15                   (a) for information in documentary form (e.g., paper or electronic
16   documents, but excluding transcripts of depositions or other pretrial or trial
17   proceedings), that the Producing Party affix at a minimum, the legend
18   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
19   ONLY” to each page that contains protected material. If only a portion or portions of
20   the material on a page qualifies for protection, the Producing Party also must clearly
21   identify the protected portion(s) (e.g., by making appropriate markings in the
22   margins).
23             A Party or Non-Party that makes original documents available for inspection
24   need not designate them for protection until after the inspecting Party has indicated
25   which documents it would like copied and produced. During the inspection and
26   before the designation, all of the material made available for inspection shall be
27   deemed “CONFIDENTIAL.” After the inspecting Party has identified the documents
28   it wants copied and produced, the Producing Party must determine which documents,

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 1   or portions thereof, qualify for protection under this Order. Then, before producing
 2   the specified documents, the Producing Party must affix the “CONFIDENTIAL” or
 3   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” legend to each page
 4   that contains Protected Material. If only a portion or portions of the material on a
 5   page qualifies for protection, the Producing Party also must clearly identify the
 6   protected portion(s) (e.g., by making appropriate markings in the margins).
 7                   (b) for testimony given in depositions that the Designating Party identify
 8   the Disclosure or Discovery Material on the record, before the close of the deposition
 9   all protected testimony.
10                   (c) for information produced in some form other than documentary and for
11   any other tangible items, that the Producing Party affix in a prominent place on the
12   exterior of the container or containers in which the information is stored the legend
13   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
14   ONLY.” If only a portion or portions of the information warrants protection, the
15   Producing Party, to the extent practicable, shall identify the protected portion(s).
16             5.3        Inadvertent Failures to Designate. If timely corrected, an inadvertent
17   failure to designate qualified information or items does not, standing alone, waive the
18   Designating Party’s right to secure protection under this Order for such material.
19   Upon timely correction of a designation, the Receiving Party must make reasonable
20   efforts to assure that the material is treated in accordance with the provisions of this
21   Order.
22

23   6.        CHALLENGING CONFIDENTIALITY DESIGNATIONS
24             6.1        Timing of Challenges.           Any Party or Non-Party may challenge a
25   designation of confidentiality at any time that is consistent with the Court’s
26   Scheduling Order.
27             6.2        Meet and Confer.           The Challenging Party shall initiate the dispute
28   resolution process under Local Rule 37.1 et seq.

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 1             6.3        The burden of persuasion in any such challenge proceeding shall be on
 2   the Designating Party. Frivolous challenges, and those made for an improper purpose
 3   (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
 4   expose the Challenging Party to sanctions. Unless the Designating Party has waived
 5   or withdrawn the confidentiality designation, all parties shall continue to afford the
 6   material in question the level of protection to which it is entitled under the Producing
 7   Party’s designation until the Court rules on the challenge.
 8

 9   7.        ACCESS TO AND USE OF PROTECTED MATERIAL
10             7.1        Basic Principles. A Receiving Party may use Protected Material that is
11   disclosed or produced by another Party or by a Non-Party in connection with this
12   Action only for prosecuting, defending, or attempting to settle this Action. Such
13   Protected Material may be disclosed only to the categories of persons and under the
14   conditions described in this Order. When the Action has been terminated, a Receiving
15   Party must comply with the provisions of section 13 below (FINAL DISPOSITION).
16             Protected Material must be stored and maintained by a Receiving Party at a
17   location and in a secure manner that ensures that access is limited to the persons
18   authorized under this Order.
19             7.2        Disclosure of “CONFIDENTIAL” Information or Items.             Unless
20   otherwise ordered by the court or permitted in writing by the Designating Party, a
21   Receiving Party may disclose any information or item designated “CONFIDENTIAL”
22   only to:
23                   (a) the Receiving Party’s Outside Counsel of Record in this Action, as well
24   as employees of said Outside Counsel of Record to whom it is reasonably necessary to
25   disclose the information for this Action;
26                   (b) the officers, directors, and employees (including House Counsel) of the
27   Receiving Party to whom disclosure is reasonably necessary for this Action;
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 1                   (c) Experts (as defined in this Order) of the Receiving Party to whom
 2   disclosure is reasonably necessary for this Action and who have signed the
 3   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 4                   (d) the court and its personnel;
 5                   (e) court reporters and their staff;
 6                   (f) professional jury or trial consultants, mock jurors, and Professional
 7   Vendors to whom disclosure is reasonably necessary for this Action and who have
 8   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 9                   (g) the author or recipient of a document containing the information or a
10   custodian or other person who otherwise possessed or knew the information;
11                   (h) during their depositions, witnesses, and attorneys for witnesses, in the
12   Action to whom disclosure is reasonably necessary provided: (1) the deposing party
13   requests that the witness sign the form attached as Exhibit 1 hereto; and (2) they will
14   not be permitted to keep any confidential information unless they sign the
15   “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise agreed
16   by the Designating Party or ordered by the court. Pages of transcribed deposition
17   testimony or exhibits to depositions that reveal Protected Material may be separately
18   bound by the court reporter and may not be disclosed to anyone except as permitted
19   under this Stipulated Protective Order; and
20                   (i) any mediator or settlement officer, and their supporting personnel,
21   mutually agreed upon by any of the parties engaged in settlement discussions.
22

23             7.3        Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
24   ONLY” Information or Items. Unless otherwise ordered by the court or permitted in
25   writing by the Designating Party, a Receiving Party may disclose any information or
26   item designated “HIGHLY CONFIDENTIAL– ATTORNEYS’ EYES ONLY” only
27   to:
28                        (a) the Receiving Party’s Outside Counsel of Record in this Action and

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 1   House counsel, as well as employees of said Outside Counsel of Record to whom it is
 2   reasonably necessary to disclose the information for this Action;
 3                        (b) Experts (as defined in this Order) of the Receiving Party to whom
 4   disclosure is reasonably necessary for this Action and who have signed the
 5   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 6                        (c)        the court and its personnel;
 7                        (d)       private court reporters and their staff to whom disclosure is
 8   reasonably necessary for this Action and who have signed the “Acknowledgment and
 9   Agreement to Be Bound” (Exhibit A);
10                        (e) professional jury or trial consultants, mock jurors, and Professional
11   Vendors to whom disclosure is reasonably necessary for this Action and who have
12   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
13                        (f) the author or recipient of a document containing the information or a
14   custodian or other person who otherwise possessed or knew the information;
15                        (g) any mediator or settlement officer, and their supporting personnel,
16   mutually agreed upon by any of the parties engaged in settlement discussions; and
17                        (h) during their depositions, witnesses, and attorneys for witnesses, in
18   the Action to whom disclosure is reasonably necessary provided: (1) the deposing
19   party requests that the witness sign the form attached as Exhibit 1 hereto; and (2) they
20   will not be permitted to keep any confidential information unless they sign the
21   “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise agreed
22   by the Designating Party or ordered by the court. Pages of transcribed deposition
23   testimony or exhibits to depositions that reveal Protected Material may be separately
24   bound by the court reporter and may not be disclosed to anyone except as permitted
25   under this Stipulated Protective Order.
26

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 1   8.        PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
 2   OTHER LITIGATION
 3             If a Party is served with a subpoena or a court order issued in other litigation
 4   that compels disclosure of any information or items designated in this Action as
 5   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
 6   ONLY,” that Party must:
 7                   (a) promptly notify in writing the Designating Party. Such notification
 8   shall include a copy of the subpoena or court order;
 9                   (b) promptly notify in writing the party who caused the subpoena or order
10   to issue in the other litigation that some or all of the material covered by the subpoena
11   or order is subject to this Protective Order. Such notification shall include a copy of
12   this Stipulated Protective Order; and
13                   (c) cooperate with respect to all reasonable procedures sought to be pursued
14   by the Designating Party whose Protected Material may be affected.
15             If the Designating Party timely seeks a protective order, the Party served with
16   the subpoena or court order shall not produce any information designated in this
17   action as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’
18   EYES ONLY” before a determination by the court from which the subpoena or order
19   issued, unless the Party has obtained the Designating Party’s permission.               The
20   Designating Party shall bear the burden and expense of seeking protection in that
21   court of its confidential material and nothing in these provisions should be construed
22   as authorizing or encouraging a Receiving Party in this Action to disobey a lawful
23   directive from another court.
24

25   9.        A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED
26   IN THIS LITIGATION
27                   (a) The terms of this Order are applicable to information produced by a
28   Non-Party in this Action and designated as “CONFIDENTIAL” or “HIGHLY

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 1   CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” Such information produced by
 2   Non-Parties in connection with this litigation is protected by the remedies and relief
 3   provided by this Order.                         Nothing in these provisions should be construed as
 4   prohibiting a Non-Party from seeking additional protections.
 5                   (b) In the event that a Party is required, by a valid discovery request, to
 6   produce a Non-Party’s confidential information in its possession, and the Party is
 7   subject to an agreement with the Non-Party not to produce the Non-Party’s
 8   confidential information, then the Party shall:
 9                        (1) promptly notify in writing the Requesting Party and the Non-Party
10   that some or all of the information requested is subject to a confidentiality agreement
11   with a Non-Party;
12                        (2) promptly provide the Non-Party with a copy of the Stipulated
13   Protective Order in this Action, the relevant discovery request(s), and a reasonably
14   specific description of the information requested; and
15                        (3) make the information requested available for inspection by the Non-
16   Party, if requested.
17                   (c) If the Non-Party fails to seek a protective order from this court within
18   14 days of receiving the notice and accompanying information, the Receiving Party
19   may produce the Non-Party’s confidential information responsive to the discovery
20   request. If the Non-Party timely seeks a protective order, the Receiving Party shall
21   not produce any information in its possession or control that is subject to the
22   confidentiality agreement with the Non-Party before a determination by the court.
23   Absent a court order to the contrary, the Non-Party shall bear the burden and expense
24   of seeking protection in this court of its Protected Material.
25

26   10.       UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
27             If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
28   Protected Material to any person or in any circumstance not authorized under this

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 1   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
 2   writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
 3   to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
 4   persons to whom unauthorized disclosures were made of all the terms of this Order,
 5   and (d) request such person or persons to execute the “Acknowledgment and
 6   Agreement to Be Bound” that is attached hereto as Exhibit A.
 7   11.       INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
 8   PROTECTED MATERIAL
 9             When a Producing Party gives notice to Receiving Parties that certain
10   inadvertently produced material is subject to a claim of privilege or other protection,
11   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
12   Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
13   may be established in an e-discovery order that provides for production without prior
14   privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
15   parties reach an agreement on the effect of disclosure of a communication or
16   information covered by the attorney-client privilege or work product protection, the
17   parties may incorporate their agreement in the stipulated protective order submitted to
18   the court.
19

20   12.       MISCELLANEOUS
21             12.1 Right to Further Relief. Nothing in this Order abridges the right of any
22   person to seek its modification by the Court in the future.
23             12.2 Right to Assert Other Objections. By stipulating to the entry of this
24   Protective Order, no Party waives any right it otherwise would have to object to
25   disclosing or producing any information or item on any ground not addressed in this
26   Stipulated Protective Order. Similarly, no Party waives any right to object on any
27   ground to use in evidence of any of the material covered by this Protective Order.
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 1             12.3 Filing Protected Material. A Party that seeks to file under seal any
 2   Protected Material must comply with Civil Local Rule 79-5. Protected Material may
 3   only be filed under seal pursuant to a court order authorizing the sealing of the
 4   specific Protected Material at issue. If a Party’s request to file Protected Material
 5   under seal is denied by the court, then the Receiving Party may file the information in
 6   the public record unless otherwise instructed by the court.
 7   13.       FINAL DISPOSITION
 8             After the final disposition of this Action, as defined in paragraph 4, within 60
 9   days of a written request by the Designating Party, each Receiving Party must make a
10   good faith effort to return all Protected Material to the Producing Party or destroy such
11   material. Whether the Protected Material is returned or destroyed, the Receiving Party
12   must upon written request submit a written confirmation to the Producing Party
13   confirming substantial compliance with this paragraph.              Notwithstanding this
14   provision, Counsel are entitled to retain an archival copy of all pleadings, motion
15   papers, trial, deposition, and hearing transcripts, legal memoranda, correspondence,
16   deposition and trial exhibits, expert reports, attorney work product, and consultant and
17   expert work product, even if such materials contain Protected Material. Any such
18   archival copies that contain or constitute Protected Material remain subject to this
19   Protective Order as set forth in Section 4 (DURATION).
20   14.       Any violation of this Order may be punished by any and all appropriate
21   measures including, without limitation, contempt proceedings and/or monetary
22   sanctions.
23

24   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
25

26
     KING, HOLMES, PATERNO & SORIANO, LLP

27
     DATED 1/20/2021
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 1   /s/ Stephen D. Rothschild*
 2
     Attorneys for Plaintiff John Malkin
     *Mr. Rothschild concurs in the filing’s contents and has authorized this filing.
 3

 4   DATED: 1/20/2021
 5

 6   KATTEN MUCHIN ROSENMAN LLP

 7
     /s/ Joel R. Weiner
 8
     Mark S. Wooster
 9   Katherine M. Motsinger
10
     Attorneys for Defendants NBCUniversal Media, LLC
11   and Working Title Films Limited
12   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
13
     DATED: January 22, 2021
14

15
     /s/ STEVE KIM
16
     Honorable Steve Kim
17
     United States Magistrate Judge
18

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 1                                                   EXHIBIT A
 2                     ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3

 4   I,        _________________________[print               or   type   full   name],     of
 5   ___________________[print or type full address], declare under penalty of perjury
 6   that I have read in its entirety and understand the Stipulated Protective Order that was
 7   issued by the United States District Court for the Central District of California on
 8   [date] in the case of John Malkin v. NBCUniversal Media, LLC, et al., No. 2:20-cv-
 9   03377. I agree to comply with and to be bound by all the terms of this Stipulated
10   Protective Order and I understand and acknowledge that failure to so comply could
11   expose me to sanctions and punishment in the nature of contempt. I solemnly promise
12   that I will not disclose in any manner any information or item that is subject to this
13   Stipulated Protective Order to any person or entity except in strict compliance with the
14   provisions of this Order.
15   I further agree to submit to the jurisdiction of the United States District Court for the
16   Central District of California for the purpose of enforcing the terms of this Stipulated
17   Protective Order, even if such enforcement proceedings occur after termination of this
18   action. I hereby appoint __________________________________________ [print or
19   type full name] of ____________________________________[print or type full
20   address and telephone number] as my California agent for service of process in
21   connection with this action or any proceedings related to enforcement of this
22   Stipulated Protective Order.
23   Date: ___________________
24   City and State where sworn and signed: ____________________________________
25

26   Printed name: _______________________________________
27

28   Signature: __________________________________

                                                        16
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